Case 2:14-cr-00338-DMG Document 92 Filed 06/11/14 Page 1of2 Page ID #:394

UNITED STATES DISTRICT COURT |
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

 

Case Number tC
U.S.A. v.. Jermaine Houston

Indictment

R_14 00338

[_] Information

Defendant Number 15
Year of Birth 1973

Investigative agency (FBI, DEA, etc.) FBI

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE
a. Offense charged as a:
[_] Minor Offense [_] Petty Offense

[_] Class C Misdemeanor [¥] Felony

[_] Class A Misdemeanor
[_] Class B Misdemeanor
b. Date of Offense Unknown to June 11, 2014

c. County in which first offense occurred

Los Angeles
d. The crimes charged are alleged to have been committed in:

CHECK ALL THAT APPLY

Los Angeles
Orange

[_] Riverside

San Bernardino

[_] Ventura
[_] Santa Barbara
[] San Luis Obispo

[| Other

Citation of Offense

 

 

RELATED CASE
Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

No [_] Yes

filed and dismissed before trial?

IF YES Case Number

 

Pursuant to General Order 14-03, criminal cases may be related

if a previously filed indictment or information and the present

case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE

 

 

PREVIOUSLY FILED COMPLAINT

 

 

 

 

 

 

 

oe oO
A complaint was previously filed on: Or bea
Case Number Sm =
ore &
Charging orn =
‘ re OUT ee tt
| Ban = co
; Tt *
The complaint: [_] isstill Beading —p rr}
! mao CE cy
[_] was dismissed on: DOF gy.
PREVIOUS COUNSEL : Sy
Was defendant previously represented? [_] No [_] Yes
IF YES, provide, Name:
Phone Number:
COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?
Yes* [-] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

Yes* [_] No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS

CHECKED,
Superseding Indictment/Information

IS THIS A NEW DEFENDANT? [ ] Yes
superseding charge, i.e. 1st, 2nd.

[_] No

This is the
The superseding case was previously filed on:

 

Case Number
The superseded case:

 

[_] is still pending before Judge/Magistrate Judge

 

[_] was previously dismissed on
Are there 8 or more defendants in the superseding case?
[] Yes* [-] No
Will more than 12 days be required to present government's
evidence in the case-in-chief?
[-] No

[_] Yes*

 

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CASE SUMMARY

CR-72 (06/14)

 
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UNITED STATES DISTRICT COURT
_ CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

Was a Notice of Complex Case filed on the Indictment or
Information?

[] Yes [-] No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

Is an interpreter required? [] YES NO
IF YES, list language and/or dialect:

 

OTHER
Male [] Female
U.S. Citizen [_] Alien

Alias Name(s) "J-Bone"

 

 

This defendant is charged in: [_] All counts

Only counts: 1, 12, 69, 71
[] This defendant is designated as "High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

|] This defendant is designated as "Special Case" per

18 USC § 3166 (b){7).
Is defendant a juvenile? . []Yes No
IF YES, should matter be sealed? [_] Yes [|] No

The area of substantive law that will be involved in this case
includes:

[_] financial institution fraud ["] public corruption
[_] tax offenses

[| mail/wire fraud

[] immigration offenses

[] government fraud

[_] environmental issues
narcotics offenses
violent crimes/firearms [_] corporate fraud

Other Racketeering

 

CUSTODY STATUS

Defendant is not in custody:

a. Date and time of arrest on complaint:
b, Posted bond at complaint level on:

in the amount of $

 

c. PSA supervision? [] Yes [_] No

d. Is on bail or release from another district:

 

Defendant is in custody:

[_] State Federal

a. Place of incarceration:

b. Name of Institution: BOP Lompoc

 

c. If Federal: U.S. Marshal's Registration Number:

 

d.[_] Solely on this charge. Date and time of arrest:

 

e. On another conviction: [_] Yes [-] No
IF YES:  [_] State [_] Federal [_] Writ of Issue
f. Awaiting trial on other charges: : [| Yes [] No
IFYES: | ] State [_] Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district

pursuant to F.R.Cr.P. 20 21 40

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

 

Date June 11, 2014

Sonate of Assistant U.S, Attorney
Mack €. JenkinsjMax B. Shiner

Print Name

 

CR-72 (06/14)

CASE SUMMARY

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